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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


UNITED STATES OF AMERICA                  )
                                          )
       vs.                                )             Case No. 05 CR 48-2
                                          )
TRACY REDMOND                             )


                        MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       Tracy Redmond has filed a motion for compassionate release under section

603(b) of the First Step Act, which amended 18 U.S.C. § 3582(c)(1)(A) to permit a court

to reduce a defendant's sentence when there are "extraordinary and compelling

reasons" warranting a reduction. In 2006, the Court sentenced Mr. Redmond to a

prison term totaling 256 months—a little over twenty-one years—after a jury found him

guilty of robbery, conspiracy to commit robbery, and using a firearm in connection with a

crime of violence. Mr. Redmond is incarcerated at Oakdale I FCI, which is located in

the state of Louisiana. He has served a little less than seventy-five percent of the prison

term imposed by the Court. His anticipated release date is September 24, 2023. Mr.

Redmond seeks a reduction of his sentence to time served based on the risks to his

health posed by the coronavirus pandemic.

       It is undisputed that Mr. Redmond has satisfied the statutory requirement to

exhaust remedies within the Bureau of Prisons. The government also concedes that

Mr. Redmond, who is forty-nine years old, meets the "extraordinary and compelling

circumstances" argument. Specifically, records from the BOP reflect that Mr. Redmond
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suffers from Type 2 diabetes and that he is obese, with a body mass index of 38.0.

Each of these conditions is a factor that increases a person's risk of serious illness from

contracting the coronavirus. See https://www.cdc.gov/coronavirus/2019-ncov/need-

extra-precautions/people-with-medical-conditions.html (last viewed Jan. 10, 2021). Mr.

Redmond tested positive for coronavirus in April 2020 and did not suffer serious illness,

but the Court cannot say that this renders him immune from reinfection, as there is

some scientific evidence to the contrary. Finally, Oakdale I FCI has experienced a

significant incidence of coronavirus infections among inmates, including seven who

have died from coronavirus disease, though at present there are a relatively modest

number of inmates who are testing positive. See      https://www.bop.gov/coronavirus/

(last visited Jan. 10, 2021).

       The policy statements issued by the Sentencing Commission prior to the

passage of the First Step Act included an open-ended provision broad enough to cover

the circumstances argued by Mr. Redmond as a basis for release. See U.S.S.G. §

1B1.13, app. note 1(D). See, e.g., United States v. Reyes, No. 04 CR 970, 2020 WL

1663129, at *2 (N.D. Ill. Apr. 3, 2020) (Leinenweber, J.); cf. United States v. Gunn, 980

F.3d 1178, 1180 (7th Cir. 2020) (court may rely on pre-First Step Act policy statements

by Sentencing Commission in determining what constitutes an extraordinary and

compelling reason warranting release).

       This, however, does not automatically entitle Mr. Redmond to a sentence

reduction. Before a court may reduce a sentence, it must consider the factors regarding

imposition of an appropriate sentence set forth in 18 U.S.C. § 3553(a). See 18 U.S.C. §

3582(c)(1)(A). These include Mr. Redmond's history and characteristics; the nature and



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circumstances of his crimes; due consideration of the seriousness of the crimes;

promoting respect for the law; providing just punishment; affording adequate

deterrence; protecting the public from further crimes by Mr. Redmond; and providing

him with any necessary services and treatment.

         Mr. Redmond's crime was unusually serious. Along with others, Mr. Redmond

planned and carried out an armed robbery of an armored car that was delivering

currency to a bank. He recruited others to participate, including an employee of the

bank. And when the robbery went down on October 29, 2004, Mr. Redmond was the

one carrying the gun. He grabbed a guard who was holding a bag filled with $400,000

in currency, held a gun to the guard's neck, and demanded the bag. During a struggle

in which Mr. Redmond took the bag of money, he shot the guard, three times, at close

range.

         And this was not the only serious crime that Mr. Redmond committed. Three

weeks before the armored car robbery, a bank employee (who was also involved in the

armored car robbery) gave him information about an elderly bank customer who

regularly made large cash deposits. Mr. Redmond and another cohort stole $11,500

from this man on July 25, 2004 as he was on his way to the bank. Mr. Redmond also

had several previous felony convictions, including a firearm possession offense,

narcotics offenses, and a burglary that he committed while he was on parole. Mr.

Redmond had served two prison terms before committing the armed robbery at issue in

this case.

         The amount of time served to date by Mr. Redmond does not adequately account

for the seriousness of his offense; the Court concluded as much when it sentenced him



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to a prison term totaling over twenty-one years. The Court acknowledges that Mr.

Redmond's record while incarcerated has been positive and that he has a plan for

reentry into the community following his release. However, in light of Mr. Redmond's

extensive criminal history and the extraordinarily serious, violent crime that he

committed in this case, the Court concludes that there is an ongoing need to protect the

community. The Court finds that this, along with the need to provide just punishment for

Mr. Redmond's crimes, outweighs the risk to Mr. Redmond from further exposure to the

coronavirus. In short, the Court is not persuaded that consideration of the factors in 18

U.S.C. § 3553(a) warrants a reduction of Mr. Redmond's sentence.

                                       Conclusion

       For the reasons stated above, the Court respectfully denies Mr. Redmond's

motion for compassionate release [260]. Mr. Redmond's motion to proceed in forma

pauperis [248] is moot.

Date: January 12, 2021

                                                 ________________________________
                                                      MATTHEW F. KENNELLY
                                                      United States District Judge




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